O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT COURT
                                                                         for the

                                                        Western District of North Carolina

                     United States of America                              )
                                v.                                         )
                                                                           )   Case No:    5:05CR9-15
                          Samuel D. Johnson
                                                                           )   USM No: 19951-058
Date of Previous Judgment:            09/10/07                             )   Tanzania C. Cannon-Eckerle
(Use Date of Last Amended Judgm ent if Applicable)                         )   Defendant’s Attorney


                      Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                     the last judgment issued) of               months is reduced to                                       .



REASON FOR DECISION:

Defendant’s sentence was recently reduced to a term of 24 months incarceration, rendering this motion pursuant to
Amendment 706 and 18 U.S.C. §3582(c)(2) moot. Had Defendant’s sentence not previously been reduced beyond that
currently being recommended by U.S. Probation (and agreed upon by the Government) as a result of Amendment 706,
Defendant would have been eligible for a reduction to a sentence of 30 months.


IT IS SO ORDERED.



                                                                                     Signed: June 19, 2008




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